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      July 9th, 2021
      Via electronic mail
      Matthew T. Kirsch
      Acting United States Attorney

      Hetal J. Doshi
      Andrea Surratt
      Assistant United States Attorneys

      United States Attorney’s Office
      District of Colorado
      1801 California Street, Suite 1600
      Denver, CO 80202
             Re:       United States v. Michael Aaron Tew, Kimberley Ann Tew, and Jonathan
                       K. Yioulos, Case No. 20-CR-305-DDD
                       Potential Privilege Violations
      Dear Mr. Kirsch, Ms. Doshi, and Ms. Surratt,
              We are in receipt of your July 7th letter requesting search terms for the filtration of
      iCloud data seized via sealed search warrant from Apple. Based on the information
      provided to us in this letter, we believe that failure to follow appropriate taint team
      protocols may have resulted in the government violating Mr. and Mrs. Tew’s attorney-
      client and spousal privileges. Your correspondence indicates that government investigators
      may have accessed privileged material. We ask that you immediately cease your discovery
      review until these privilege questions are resolved.
             Finally, your characterization of our discussions as agreements is inaccurate. Any
      agreement that the defense makes with the government will be in writing. We do not
      accept your imposition of arbitrary deadlines as to our clients’ legal rights, and nothing that
      we have said or done is any kind of waiver. We have been clear about this from the
      beginning. We look forward to discussing this with you further on Thursday after the
      hearing.


      Sincerely,
      s/ Tor Ekeland         s/ Michael Hassard
      Tor Ekeland            Michael Hassard




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